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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   NEWNAN DIVISION

   IN RE:

   ALISA MEKEEA BUNKLEY,                                 CASE NO. 17-12470-WHD

            Debtor.                                      CHAPTER 13

   WAREHOUSE HOME                                        JUDGE DRAKE
   FURNISHINGS d/b/a
   FARMERS FURNITURE,

            Movant,

   Vs.

   ALISA MEKEEA BUNKLEY,
   Debtor, and MELISSA J. DAVEY,
   Trustee,

            Respondents.


                OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN


      COMES NOW, FARMERS FURNITURE, (hereinafter Movant) and files this its

   Objection to Confirmation of Chapter 13 plan of the Debtor as follows:

                                                1.

      The Debtor has not made all the payments to the Trustee as required by 11 U.S.C.

   Section 1326.

                                                2.

         The Debtor’s case is not proposed in good faith as required by 11 U.S.C. Section

   1325(b)(2)(A) and under the standards put forth in the cases of In re Hearn, 211 B.R.

   774 (Bankr. N.D. Georgia, 1997) and In re: Kitchens as Movant is not adequately
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   protected by the $1500 value assigned to its collateral. Movant will be filing a secured

   Proof of Claim for approximate amount of $3130.87.

                                               3.

        The Debtor is not paying all of his/her disposable income to the Court.


        WHEREFORE, Movant requests that this Honorable Court deny confirmation of the

   Debtor’s case.

        This the __26th    day of _____FEBRUARY_________, 2018.



                                                        Respectfully submitted,



                                                        /s/                _____
                                                        KIMBERLY E. HALL
                                                        Attorney for Movant
                                                        Georgia Bar No. 319115
   P. O. Box 2538
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                                                         CASE NO. 17-12470-WHD
                                                         CHAPTER 13
                                                         JUDGE DRAKE


                                CERTIFICATE OF SERVICE

      This is to certify that I have this day served the following parties with a copy of the

   attached and foregoing Objection to Confirmation:

                                  Alisa Mekeea Bunkley
                                  Debtor
                                  413 Acorn Lane
                                  Griffin, GA 30223

                                  Howard P. Slomka
                                  Attorney for Debtor
                                  Slipakoff & Slomka, PC
                                  Overlook III - Suite 1700
                                  2859 Paces Ferry Rd, SE
                                  Atlanta, GA 30339

                                  Melissa J. Davey
                                  Standing Ch 13 Trustee
                                  Suite 200
                                  260 Peachtree Street, NW
                                  Atlanta, GA 30303


       This the __26th   day of _____FEBRUARY_________, 2018.


                                                         /s/              _____
                                                         KIMBERLY E. HALL
                                                         Attorney for Movant
                                                         Georgia Bar No. 319115
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